    6:19-cv-01567-JD      Date Filed 08/26/21       Entry Number 186       Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION

Eden Rogers et al.,                        )
                                           )
                             Plaintiffs,   )
                                           )
               v.                          )           Civil Action No. 6:19-cv-01567-JD
                                           )
United States Department of Health and     )
Human Services et al.,                     )
                                           )
                          Defendants.      )



           DEFENDANTS HENRY MCMASTER’S AND MICHAEL LEACH’S REPLY
            IN SUPPORT OF THE MOTION FOR JUDGMENT ON THE PLEADINGS



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        6:19-cv-01567-JD                   Date Filed 08/26/21                 Entry Number 186                    Page 2 of 16




                                                       TABLE OF CONTENTS

INTRODUCTION .................................................................................................................................1

ARGUMENT .......................................................................................................................................3

           I.         Fulton’s effect on this suit is ripe for the Court’s consideration .............................3

           II.        Fulton’s holding is dispositive here .........................................................................6

           III.       The facts, reasoning, and holding of Fulton are sufficiently parallel to this
                      suit to be controlling ................................................................................................8

           IV.        Plaintiffs’ Equal Protection claim based on alleged sexual-orientation
                      discrimination fails to state a claim on which relief can be granted ......................10

CONCLUSION...................................................................................................................................10




                                                                       i
        6:19-cv-01567-JD                 Date Filed 08/26/21                 Entry Number 186                  Page 3 of 16




                                                   TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Am. Legion v. Am. Humanist Ass’n,
   139 S. Ct. 2067 (2019) ...............................................................................................................7

Drager v. PLIVA USA, Inc.,
   741 F.3d 470 (4th Cir. 2014) .....................................................................................................3

Forest Hills Early Learning Center, Inc. v. Lukhard,
   728 F.2d 230 (4th Cir. 1984) .........................................................................................4, 5, 6, 8

Forest Hills Early Learning Ctr., Inc. v. Grace Baptist Church,
   846 F.2d 260 (4th Cir. 1988) .................................................................................................5, 8

Fulton v. City of Philadelphia,
   141 S. Ct. 1868 (2021) ..................................................................................................... passim

Good News Club v. Milford Cent. Sch.,
   533 U.S. 98 (2001) .....................................................................................................................7

Hobbie v. Unemployment Appeals Comm’n,
   480 U.S. 136 (1987) ...........................................................................................................2, 6, 8

Hosana-Tabor Evangelical Lutheran Church & Sch. v. E.E.O.C.,
   565 U.S. 171 (2012) ...................................................................................................................7

Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist.,
   508 U.S. 384 (1993) ...................................................................................................................7

McCall v. Finley,
  362 S.E.2d 26 (S.C. Ct. App. 1987).........................................................................................10

Pulte Home Corp. v. Montgomery Cnty., Md.,
   909 F.3d 685 (4th Cir. 2018) .....................................................................................................3

Sherbert v. Verner,
   374 U.S. 398 (1963) ...........................................................................................................2, 6, 8

Town of Greece v. Galloway,
   572 U.S. 565 (2014) ...................................................................................................................7

Utah Highway Patrol Ass’n v. Am. Atheists, Inc.,
   132 S. Ct. 12 (2011) ...................................................................................................................7



                                                                    ii
        6:19-cv-01567-JD                  Date Filed 08/26/21                 Entry Number 186                  Page 4 of 16




Van Orden v. Perry,
   545 U.S. 677 (2005) ...................................................................................................................7

Zelman v. Simmons-Harris,
   536 U.S. 639 (2002) ...................................................................................................................7

Statutes

42 U.S.C. § 2000bb-1 et seq. ...........................................................................................................9

S.C. Code Ann. § 1-32-40 ................................................................................................................9

Rules

FRCP Rule 12(c) ..........................................................................................................................1, 3




                                                                     iii
      6:19-cv-01567-JD        Date Filed 08/26/21       Entry Number 186         Page 5 of 16




       Defendant Henry McMaster (“Governor McMaster” or “the Governor”), in his official

capacity as Governor of the State of South Carolina, and Defendant Michael Leach (“Director

Leach”), in his official capacity as the Director of the South Carolina Department of Social

Services (“SCDSS”) (collectively the “State Defendants”), moved for judgment on the pleadings

in light of recent, controlling Supreme Court precedent. (See ECF No. 173.) Plaintiffs’ Opposition

attempts to confuse the analysis with several novel, but unsupported, arguments and by deploying

more than a few straw men. (See ECF No. 180.) Plaintiffs’ counsel previously cautioned the

Supreme Court in an amicus brief filed in Fulton v. City of Philadelphia, 141 S. Ct. 1868 (2021),

that a ruling in favor of the faith-based CPA in that case would erect an insurmountable obstacle

to the claims raised in this case. The Supreme Court ruled unanimously in favor of the faith-based

CPA, and Plaintiffs now ask this Court to pretend it never happened. Their efforts are unavailing.

The Court should enter judgment on the pleadings and dismiss the suit with prejudice.

                                  INTRODUCTION AND SUMMARY

       Plaintiffs’ Opposition rests on fundamental misapprehensions of constitutional law. They

argue, for example, that the Supreme Court’s recent, unanimous judgment in Fulton v. City of

Philadelphia, 141 S. Ct. 1868 (2021), is not ripe for the Court’s consideration in this suit. Their

argument is contrary to Fourth Circuit precedent, which holds (1) that a timely Rule 12(c) motion

is the appropriate manner in which to raise recent, dispositive case law, and (2) that District Courts

should consider and grant such motions when the relief sought by the plaintiff is unobtainable or

the plaintiff is incapable of prevailing on her claims. A court may (indeed, must) consider what

effect intervening, binding precedent has on the cases before it. Plaintiffs’ argument that this Court

should ignore binding Supreme Court precedent in ruling on this Motion is contrary to law and

logic and simply highlights their understandable but desperate efforts to avoid the very outcome

Fulton commands.


                                                  1
      6:19-cv-01567-JD        Date Filed 08/26/21       Entry Number 186         Page 6 of 16




       Plaintiffs further seek to distinguish Fulton by pretending that constitutional cases and

clauses exist in silos, isolated from and unaffected by each other. Specifically, Plaintiffs admit that

Fulton and the Free Exercise Clause require the government to accommodate faith-based foster

care providers when possible, but they argue that Fulton and the Free Exercise Clause are irrelevant

here because this is an Establishment Clause and Equal Protection case. Their argument ignores

the settled principle that what is required by one provision of the Constitution cannot be forbidden

by another. Because the State Defendants’ accommodation of faith-based CPAs is consistent with

and required by Fulton and the Free Exercise Clause, it therefore cannot violate the Establishment

or Equal Protection Clauses. See, e.g., Hobbie v. Unemployment Appeals Comm’n, 480 U.S. 136,

144–45 (1987); Sherbert v. Verner, 374 U.S. 398, 409 (1963).

       Notably, Plaintiffs fail to respond to the State Defendants’ argument that judgment is

warranted because the Court cannot award the relief sought in Plaintiffs’ Complaint. Accordingly,

Plaintiffs tacitly concede this point—a point that independently warrants the entry of judgment

and dismissal of their claims. Plaintiffs likewise fail to respond to the merits of the State

Defendants’ argument that the challenged actions were rationally related to legitimate government

interests, and, therefore, the remainder of the Equal Protection claim should be dismissed. Rather,

Plaintiffs argue merely that Judge Cain already rejected this argument—a position that is

demonstrably incorrect, as noted in Judge Cain’s prior ruling, which expressly stated that this

argument had not been raised at that time.

       Finally, Plaintiffs argue in a footnote that they didn’t really mean what they said in the

amicus briefs they filed in Fulton, and, despite what they said in those briefs, the ruling in Fulton

isn’t really relevant to this case. If victory has a thousand fathers, defeat is apparently an orphan.

Having clearly staked out their positions in their amicus briefs in Fulton, Plaintiffs and their

counsel may not so easily abandon them.



                                                  2
      6:19-cv-01567-JD         Date Filed 08/26/21        Entry Number 186       Page 7 of 16




                                              ARGUMENT

I.      Fulton’s effect on this suit is ripe for the Court’s consideration.

        The State Defendants’ Motion explained that Fulton teaches that the accommodations

sought and granted by the State Defendants were constitutionally permissible and required. (See

ECF No. 173 at 13–22.) Plaintiffs’ primary response is an astonishing one, namely that Fulton’s

effect on this lawsuit is not ripe for the Court’s consideration. (See ECF No. 180 at 7–11.)

Plaintiffs’ assertion is incorrect for at least four reasons.

        First, it is contrary to binding case law, which holds that District Courts may consider and

rule on Rule 12(c) motions arguing that intervening, controlling precedent makes the relief sought

in the suit unobtainable or indicates the plaintiff is incapable of prevailing on the claims she has

asserted. See, e.g., Pulte Home Corp. v. Montgomery Cnty., Md., 909 F.3d 685, 691, 695–96 (4th

Cir. 2018); Drager v. PLIVA USA, Inc., 741 F.3d 470, 474–76 (4th Cir. 2014). That is precisely the

argument the State Defendants have asserted in their pending Motion for Judgment on the

Pleadings. If such arguments were ripe for consideration in Pulte and Drager, so too they are ripe

for the Court’s consideration here.

        Second, Fulton’s applicability does not, as Plaintiffs claim, require the Court to imagine a

“purely hypothetical” future scenario. (See ECF No. 180 at 8–10.) Plaintiffs have alleged a

concrete and particularized set of regulatory, statutory, administrative, executive, and contextual

facts that, accepted as true for purposes of this Motion, are neither hypothetical nor still imminent.

Accordingly, Fulton’s applicability is not, as Plaintiffs argue, merely an abstract and conjectural

thought experiment. Rather, the question of whether the State Defendants’ actions to accommodate

faith-based CPAs were constitutionally permissible and required can be decided in this suit on the

actual facts alleged in Plaintiffs’ Complaint. This analysis does not require the Court to speculate




                                                    3
      6:19-cv-01567-JD         Date Filed 08/26/21       Entry Number 186         Page 8 of 16




what Miracle Hill might one day do in the face of enforcement. (Contra ECF No. 180 at 8.) Rather,

it merely requires the Court to analyze what Governor McMaster and Director Leach actually did

do: request and provide an accommodation that is coextensive with the principles and holding of

Fulton.

          Third, the case on which Plaintiffs rest their argument—Forest Hills Early Learning

Center, Inc. v. Lukhard, 728 F.2d 230 (4th Cir. 1984)—provides no support for their argument.

Plaintiffs argue that Lukhard is “highly analogous” to this case, but they are seemingly unaware

of passages from Lukhard that undercut its instructiveness here. To start, the Lukhard court was

reticent to grapple with the free exercise issue in that case for two reasons: (1) the sweeping breadth

of the exemption and (2) the court’s skepticism that some of the requirements—e.g., the spacing

of cots and cribs and the minimum area of space per child—implicated religious exercise. See

Lukhard, 728 F.2d at 241 n.10, 244. Neither of these factors is present here. The narrow exemption

challenged by Plaintiffs in this suit relates merely to faith-based CPAs’ right to partner with

coreligionist foster parents (see ECF No. 1 ¶¶ 3–5, 60, 64, 69, 71, 84, 100–01, 103, 129–30), which

is a right the Supreme Court recently held has a “plain” nexus to religious exercise. Fulton, 141 S.

Ct. at 1876.

          Furthermore, when (as here) the free exercise right at issue has been established by

controlling precedent, the Lukhard court specifically stated that it would be appropriate for a court

to analyze a government defendant’s argument that its action was intended to protect free exercise

rights when the exception involved a right that was established by controlling precedent:

                In the setting of this case[,] the persons whose free exercise rights are
                centrally in issue are not parties to the litigation and those rights have
                not been authoritatively established in any other constitutional
                adjudication.

                                              *     *     *



                                                   4
      6:19-cv-01567-JD        Date Filed 08/26/21       Entry Number 186         Page 9 of 16




               Where free exercise rights . . . exist, the state is constitutionally
               obligated to accommodate them, even if this entails some degree of
               disparate treatment of religious activity; by definition, constitutionally
               compelled accommodation of free exercise rights cannot abridge the
               establishment clause. . . . Where those limits of permissible
               accommodation lie in a particular case involves a “value judgment”
               guided only by historical inquiry and prior authoritative judicial
               decisions.

               All this being so, we cannot question the appropriateness of the state’s
               seeking to defend the challenged exemption here on the basis that the
               accommodation it makes to the activities of “religious institutions”
               was constitutionally compelled or at least constitutionally permitted
               by reason of the existence of free exercise rights in those institutions,
               and that this provided a saving “secular purpose” for the exemption
               under establishment clause challenge. Protection of constitutional
               rights can properly be advanced by government as justification for
               governmental action that is under challenge for violation of other
               constitutional rights. [] We do not suppose that a court in which such
               a justification issue is raised is without power to adjudicate it
               notwithstanding the absence as parties of those persons in behalf of
               whose free exercise rights the legislative accommodation was
               allegedly made.

Lukhard, 728 F.2d at 241 (emphasis added). In sum, Lukhard stands merely for the proposition

that in the unique fact pattern of that case, it seemed prudent to defer examination of the free

exercise argument.1 It does not stand for the proposition that a court may never consider a

government accommodation of free exercise rights unless the plaintiffs either name the religious

observants as defendants or the government refuses to accommodate the religious observants’ free

exercise rights and they are forced to file suit themselves. The effect of Fulton on this suit has

been properly raised to the Court and the question is ripe for this Court’s analysis and adjudication.




1
  Interestingly enough, the Fourth Circuit subsequently upheld the governmental exception
challenged in Lukhard, holding the government’s accommodation of free exercise was a legitimate
purpose and the accommodation did not violate the Establishment Clause. See Forest Hills Early
Learning Ctr., Inc. v. Grace Baptist Church, 846 F.2d 260 (4th Cir. 1988).


                                                  5
      6:19-cv-01567-JD        Date Filed 08/26/21       Entry Number 186         Page 10 of 16




II.    Fulton’s holding is dispositive here.

       The State Defendants’ Motion explained the dispositive effect of Fulton on the claims

asserted in this suit. (See ECF No. 173 at 13–25.) Plaintiffs’ Opposition seeks to distinguish Fulton

primarily on the basis that Fulton involved a claim under the Free Exercise Clause, while this suit

involves claims under the Establishment and Equal Protection Clauses. (See ECF No. 180 at 11–

13.) Plaintiffs cite no authority in support of their remarkable argument that a Supreme Court

opinion interpreting one of the First Amendment’s religion clauses is irrelevant in cases involving

other of the First Amendment’s religion clauses. In fact, the opposite is true. It is well settled that

the clauses should be construed in harmony with one another and that accommodations required

by the Free Exercise Clause cannot be forbidden by the Establishment or Equal Protection Clauses.

See, e.g., Hobbie, 480 U.S. at 144–45 (discussing situations in which the government “must

accommodate religious practices and that it may do so without violating the Establishment Clause”

(cleaned up)); Sherbert, 374 U.S. at 409 (noting the Court was not “fostering an ‘establishment’

of the Seventh-Day Adventist religion” by requiring a state unemployment benefits program to

accommodate Sabbatarians who refused Saturday work). Indeed, one of the cases that Plaintiffs

argue is “highly analogous” to this one (see ECF No. 180 at 9) holds that “by definition,

constitutionally compelled accommodation of free exercise rights cannot abridge the establishment

clause.” Lukhard, 728 F.2d at 241.

       Plaintiffs further seek to distinguish this suit from Fulton by arguing that their

Establishment Clause claim implicates different and broader concerns than those raised in Fulton.

(See ECF No. 180 at 12.) But each of the alleged violations Plaintiffs point to—e.g., “using

government funds for religious purposes and activities,” “preferring certain religious beliefs over

others,” and “privileging religion to the detriment of third parties”—all relate directly to CPAs’




                                                  6
     6:19-cv-01567-JD        Date Filed 08/26/21      Entry Number 186         Page 11 of 16




selection of foster parents compatible with the CPAs’ religious beliefs and the State Defendants’

accommodation of the same. That is the entire thrust of the supposedly unconstitutional actions

alleged in the Complaint (see ECF No. 1 ¶¶ 3–5, 60, 64, 69, 71, 84, 100–01, 103, 129–30), and it

is the same conduct underlying the analysis in Fulton.2

       Plaintiffs further fault the State Defendants for failing to discuss the Lemon test in their

Motion. (See ECF No. 180 at 13.) Even assuming Lemon has ongoing vitality,3 its three-part test

is needless here in light of the more fundamental truth that an accommodation of religion that is

constitutionally required cannot, by definition, violate the Establishment Clause. See Hobbie, 480

U.S. at 144–45; Sherbert, 374 U.S. at 409 (1963); Lukhard, 728 F.2d at 241. Whether one attempts

to run it through Lemon’s rubric or not, the result is the same. See Grace Baptist Church, 846 F.2d

at 262–64 (applying the Lemon test and concluding the state government did not violate the




2
  Allegations that such recruiting and screening practices somehow amount to religious coercion of
prospective foster parents or foster children are incorrect. The Fulton Court noted that a CPA “does
not seek to impose [its] beliefs on anyone else” merely by screening prospective foster parents on
the basis of its religious beliefs. Fulton, 141 S. Ct. at 1882. Further, Plaintiffs already conceded—
and Judge Cain already ruled—that they lack standing to assert claims for supposed harms to third
parties such as children in foster care. See ECF No. 61 at 10 n.5; ECF No. 81 at 19–21.
3
  The Supreme Court’s Establishment Clause precedent has consistently and repeatedly relied on
a historically informed analysis rather than the test set forth in Lemon. See Am. Legion v. Am.
Humanist Ass’n, 139 S. Ct. 2067 (2019) (declining to apply Lemon and, instead, relying on historical
approach); Town of Greece v. Galloway, 572 U.S. 565 (2014) (same); Hosana-Tabor Evangelical
Lutheran Church & Sch. v. E.E.O.C., 565 U.S. 171 (2012) (ignoring Lemon); Zelman v. Simmons-
Harris, 536 U.S. 639 (2002) (same); Good News Club v. Milford Cent. Sch., 533 U.S. 98, 112
(2001) (same).
  In addition, members of the Supreme Court have repeatedly criticized Lemon. See Am. Legion,
139 S. Ct. at 2079–85 (plurality op.); id. at 2092–93 (Kavanaugh, J., concurring); id. at 2101–03
(Gorsuch, J., concurring); Utah Highway Patrol Ass’n v. Am. Atheists, Inc., 132 S. Ct. 12, 12–23
(2011) (Thomas, J., dissenting); Van Orden v. Perry, 545 U.S. 677, 686 (2005) (plurality op.);
Lamb’s Chapel v. Ctr. Moriches Union Free Sch. Dist., 508 U.S. 384, 398 (1993) (Scalia, J.,
concurring).


                                                 7
       6:19-cv-01567-JD       Date Filed 08/26/21        Entry Number 186       Page 12 of 16




Establishment Clause by granting exemptions to religious entities in an effort to protect their free

exercise rights).

        In addition, Plaintiffs complain that the State Defendants’ Motion fails to explain how

Fulton alters the analysis of Judge Cain’s prior ruling declining to dismiss the Establishment

Clause claim. (See ECF No. 180 at 13.) The State Defendants are not sure how they could explain

this more plainly than they have already done by submitting a 28-page Motion arguing from the

first page to the last that a recent, intervening, unanimous judgment by the Supreme Court in this

exact factual context compels an entry of judgment and dismissal of Plaintiffs’ claims. Any

potential or perceived uncertainties or ambiguities in First Amendment case law that may

previously have left Judge Cain unwilling to dismiss Plaintiffs’ claims have now been put to rest

by an intervening, unanimous judgment of the Supreme Court, holding that the accommodations

sought and granted by the State Defendants were constitutionally permissible and required.

III.    The facts, reasoning, and holding of Fulton are sufficiently parallel to this suit to be
        controlling.

        The State Defendants’ Motion explained the factual and analytical parallels between Fulton

and this suit that render e’s holding dispositive here. (See ECF No. 173 at 13–25.) Plaintiffs’

attempts to distinguish Fulton or limit it to its facts are not persuasive.

        Plaintiffs argue first that this suit is distinguishable from Fulton because here there is “no

dispute between a CPA and the State.” (ECF No. 180 at 15.) Plaintiffs apparently forget that the

accommodations they challenge in this suit grew out of exactly such a dispute, and the allegations

of their Complaint make clear how that dispute would have ended in the absence of the State

Defendants’ accommodation—by Miracle Hill abandoning either its religious convictions or its

ability to serve children in the foster-care system.




                                                   8
     6:19-cv-01567-JD         Date Filed 08/26/21        Entry Number 186         Page 13 of 16




        Plaintiffs next argue that supposed factual distinctions between the facts of this case and the

facts of Fulton make it uncertain whether strict scrutiny should apply here. (ECF No. 180 at 15–

16.) The State Defendants already explained the factual parallels between the two suits. (See ECF

No. 173 at 13–22.) But even assuming there were some meaningful factual distinctions between

this case and Fulton (and thus strict scrutiny is not triggered by the presence of a discretionary

exemption mechanism), the government’s actions in this suit must nevertheless be strictly

scrutinized because statutes require it, namely the federal Religious Freedom Restoration Act and

the South Carolina Religious Freedom Act. See 42 U.S.C. § 2000bb-1 et seq.; S.C. Code Ann. § 1-

32-40. Under a strict scrutiny analysis, when (as here) the government can accommodate religious

exercise, it must. (See ECF No. 173 at 17–22.)

        Lastly, Plaintiffs argue that in Fulton, same-sex couples had more than 20 other agencies

to choose from, whereas in this suit Plaintiffs allegedly had fewer options. Even assuming that to

be true,4 it is irrelevant. In Fulton, every qualified prospective foster parent had the ability to apply

and serve; and in this suit, every qualified prospective foster parent has the ability to apply and

serve, either directly with SCDSS or with a multitude of local private CPAs. The fact that

Philadelphia (a much larger city than Greenville) is home to more private CPAs than Greenville is

unsurprising but irrelevant to the analysis. The constitutional analysis is not dependent on

population or whether a prospective foster parent has five, ten, or fifteen CPAs to choose from.

Nor is Plaintiffs’ subjective belief that some CPAs are “better” than others relevant to the

constitutional analysis. These vague and desperate attempts to distinguish this case from Fulton




4
 While the court must assume the truth of the allegations of the Complaint for purposes of this
Motion, discovery has shown that Plaintiffs’ numeric allegations on this point are incorrect by
multiple orders of magnitude.


                                                   9
      6:19-cv-01567-JD      Date Filed 08/26/21      Entry Number 186        Page 14 of 16




are distinctions that make no difference, and “whatever doesn’t make any difference doesn’t

matter” in the law. McCall v. Finley, 362 S.E.2d 26, 28 (S.C. Ct. App. 1987).

IV.    Plaintiffs’ Equal Protection claim based on alleged sexual-orientation discrimination
       fails to state a claim on which relief can be granted.

       In their Motion for Judgment on the Pleadings, the State Defendants explained why the

remnants of Plaintiffs’ Equal Protection claim should be dismissed, as numerous legitimate

government interests were rationally related to the State Defendants’ challenged actions. (See ECF

No. 173 at 25–28.) In response, Plaintiffs argue that the State Defendants are merely attempting to

“rehash” arguments already “rejected by” the Court. (See ECF No. 180 at 18.) Plaintiffs’ argument

is demonstrably incorrect. As explained in the Motion for Judgment on the Pleadings, and as

explicitly recognized by Judge Cain in his Order Granting in Part the Motions to Dismiss, the State

Defendants have not previously made these arguments in relation to the portion of the Equal

Protection claim that still stands, and Judge Cain expressly did not rule on or “reject” them. (See

ECF No. 173 at 25–26; see also ECF No. 81 at 46 (noting that “neither the State nor Federal

Defendants presented any arguments as to how their actions rationally related to a legitimate State

purpose,” but indicating that if and when the State Defendants presented such arguments, the

remainder of the Equal Protection claim would be dismissed)).

       Notably, Plaintiffs make no response to merits of the State Defendants’ argument for

dismissal of what remains of their Equal Protection claim and they cite no case law purporting to

counter the State Defendants’ argument. Accordingly, they tacitly concede dismissal of the Equal

Protection claim is warranted.

                                          CONCLUSION

       The Supreme Court’s unanimous judgment in Fulton makes clear and confirms that the

State Defendants’ actions challenged in this suit were not only constitutionally permissible but



                                                10
     6:19-cv-01567-JD        Date Filed 08/26/21       Entry Number 186         Page 15 of 16




also constitutionally required. Accordingly, the State Defendants’ constitutionally compelled and

appropriate accommodation of CPAs’ rights under the Free Exercise Clause cannot constitute

violations of the Establishment and Equal Protection Clauses, and the Court cannot award the relief

sought against Governor McMaster and Director Leach in this suit. Further, the State Defendants’

actions that purportedly led a private party to deprive Plaintiffs of Equal Protection on the basis of

sexual orientation were supported by legitimate government purposes.

       For these reasons, Plaintiffs have failed to state any claim upon which relief can be granted,

and the relief they have requested cannot be awarded by this Court as a matter of law. Accordingly,

Governor McMaster and Director Leach, in their official capacities, respectfully request the Court

enter judgment on the pleadings and dismiss Plaintiffs’ claims against them with prejudice.

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                                                 11
    6:19-cv-01567-JD         Date Filed 08/26/21   Entry Number 186     Page 16 of 16




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August 26, 2021
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                                             12
